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                             IN THE UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF WYOMING


 ANDREW SCAVUZZO and H.I., as Parent and )
 Next Friend of T.I., on behalf of themselves and all )
 similarly situated persons,                          )
                                                      )
          PLAINTIFFS,                                 )           Case No. 1:20-CV-00215-SWS
 v.                                                   )
                                                      )
 TRIANGLE CROSS RANCH, LLC, a                         )
 Wyoming               limited          liability     )
 corporation;            GERALD                E.     )
 SCHNEIDER; MICHAELEEN                         P.     )            NOTICE OF ALTERNATIVE
 SCHNEIDER; MATHEW SCHNEIDER;                         )             DISPUTE RESOLUTION
 MARK SCHNEIDER; THOMAS GEORGE;                       )
 and the SOCIETY OF OUR LADY OF THE                   )
 MOST HOLY TRINITY, a Texas corporation;              )
                                                      )
                                                      )
          DEFENDANTS.                                 )

        COMES Now Defendant the Society of Our Lady of the Most Holy Trinity (hereinafter “SOLT”),

and pursuant to Local Rule of the United States District Court for the District of Wyoming 16.3(c), and the

Court’s Initial Pretrial Order, the undersigned hereby submits this Notice of Alternative Dispute Resolution

between Andrew Scavuzzo (hereinafter “Mr. Scavuzzo”) and SOLT. Mr. Scavuzzo and SOLT have

reached a tentative settlement agreement following alternative dispute resolution and are in the process of

memorializing and finalizing the same.

                                                 SOCIETY OF OUR LADY OF THE MOST HOLY
                                                 TRINITY, Defendant,


                                             By: __/s/Patrick Sodoro_________________
                                                 Patrick J. Sodoro, appearing pro hac vice
                                                 Sodoro Law Group
                                                 13924 Gold Circle
                                                 Omaha, Nebraska 68144
                                                 (402) 504-9346 (office)
                                                 (402) 932-1662 (fax)
                                                 psodoro@sodorolaw.com
                                                 Attorney for Defendant Society of Our Lady of the Most
                                                 Holy Trinity
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                                    CERTIFICATE OF SERVICE

        The undersigned hereby certifies that a true and correct copy of the above and foregoing was duly
served by filing with Pacer CM/ECF which sent copies on this _20th_day of September, 2022 to all
attorneys of record.



                                                        _Alle Plymale______________
